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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA,

                                                                       18-CR-834 (PAE)
                         -v-
                                                                          ORDER
 JESNEL BUTLER,

                                       Defendant.


PAUL A. ENGELMAYER, District Judge:

       The Court has reviewed the renewed application for compassionate release filed on

behalf of defendant Jesnel Butler, Dkt. 564, and the Government’s letter in opposition, Dkt. 567.

These letters report the dramatic spread of COVID-19 at federal correctional institution (“FCI”)

Fort Dix since July 15, 2020, when the Court denied Mr. Butler’s original application. See

Dkt. 520. And they reflect that what was once a possibility of Mr. Butler’s contracting the

COVID-19 virus while in custody has now become a reality.

       Nonetheless, the overriding reason for the denial of Mr. Butler’s compassionate release—

that he has served only a modest portion of the term of imprisonment that the Court determined

was warranted under the 18 U.S.C. § 3553(a) factors, viewed in totality—remains persuasive

today. Mr. Butler has served only approximately 24 months of the 60-month sentence imposed.

The Court does not believe that a sentence, effectively, of 24 months’ imprisonment would fairly

take account of the § 3553(a) factors, even considering the heightened rigors that Mr. Butler’s

custody has proven to entail. The Court accordingly denies Mr. Butler’s renewed application for

compassionate release.
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       The Court, however, agrees with the defense that the unexpected hardship presented by

the COVID-19 pandemic, and the particularly severe conditions it has occasioned at FCI Fort

Dix and for Mr. Butler, would make a sentence below the one imposed compatible with the

§ 3553(a) factors—just not so far below that sentence as release today would entail. Accordingly,

the Court’s denial of Mr. Butler’s application is without prejudice to his right to bring a renewed

such application later in his prison term.

       The Court wishes Mr. Butler a full and speedy recovery and is encouraged that Mr.

Butler’s symptoms to date, as reported, have been mild.

       The Clerk of Court is respectfully directed to terminate the motion pending at Dkt. 564.

       SO ORDERED.

                                                          PaJA.�
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                                                           PAUL A. ENGELMAYER
                                                           United States District Judge
Dated: November 9, 2020
       New York, New York




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